 2:18-mn-02873-RMG            Date Filed 04/07/25        Entry Number 6920          Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-                MDL No. 2:18-mn-2873-RMG
 FORMING FOAMS
 PRODUCTS LIABILITY                  This Order Relates To
 LITIGATION                          All Cases




       The Court has set a Science Day in this litigation for Friday, June 20, 2025. The Court sets

the following terms to conduct the Science Day.

          1. The Science Day will immediately follow the MDL status conference set for June

              20, 2025.

          2. The Plaintiffs Executive Committee (PEC) and Defense Coordinating Committee

              (DCC) will each be allowed to offer up four experts (two for Liver Cancer and two

              for Thyroid Cancer) to address the Court during the Science Day and to respond to

              the Court’s questions. Plaintiffs’ experts will go first, followed by Defense experts.

          3. The presentations and questioning will be under the control and direction of the

              Court. Counsel will not be involved in making presentations or questioning the

              experts.

          4. The presentations, supportive materials, and responses of the experts are off the

              record and may not be used in any manner by any party in any aspect of this

              litigation. A transcript of the Science Day will be made strictly for the Court’s use

              and will not be provided to any party.




                                                1
 2:18-mn-02873-RMG           Date Filed 04/07/25        Entry Number 6920          Page 2 of 2




          5. The PEC and DCC will make available to the Court the CVs of their experts at least

              10 days before Science Day.

          6. Experts may use power points and provide supportive charts and data, but they

              should anticipate the Court actively participating in and directing questioning.




                                                    _s/Richard Mark Gergel_
                                                    Richard Mark Gergel
                                                    United States District Judge

April 7, 2025
Charleston, South Carolina




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